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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                             Case No. 11-20129-D35

WAYNE RUSSELL WERTH,

     Defendant.
_________________________/

     ORDER DEEMING DEFENDANT WERTH COMPETENT TO STAND TRIAL AND
     MEMORIALIZING DEFENDANT’S DESIRE TO CONTINUE REPRESENTATION

       The parties appeared before the court for a competency hearing on July 16,

2013. After reviewing the psychiatric examination, and for the reasons stated on the

record, the court deemed Defendant competent to stand trial. Further, during the

hearing, Defendant formally withdrew any outstanding request to represent himself pro

se, opting instead to proceed with court-appointed counsel. Accordingly,

       IT IS ORDERED that Defendant Wayne Werth is DEEMED competent to stand

trial. The case against him will proceed as scheduled.


                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE
Dated: July 23, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 23, 2013, by electronic and/or ordinary mail.

                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
